      Case 3:23-cv-02217-SI Document 19-1 Filed 05/11/23 Page 1 of 8


 1
     Ethan Jacobs (SBN 291838)
 2   ethan@ejacobslaw.com
     Ethan Jacobs Law Corporation
 3   100 Pine Street, Suite 1250
     San Francisco, CA 94111
 4   Telephone: (415) 275-0845
 5   Attorneys for Petitioners
 6
                            IN THE UNITED STATES DISTRICT COURT
 7                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
 8

 9                                                          Case No. 3:23-cv-02217-SI
      SARAH ANOKE, CATHERINE BONN,
10
      ISABELLE CANNELL, MELANIE
      EUSEBIO, SAMANTHA FESTEJO,                            DECLARATION OF ETHAN JACOBS
      CARLOS MOISES ORTIZ GOMEZ,                            IN SUPPORT OF PETITIONERS’
11
      DAWN HOISE, WAYNE KRUG,                               CIVIL LOCAL RULE 7-11
      LAURENT LUCE, PATRICK                                 ADMINISTRATIVE RELIEF MOTION
12
      O’CONNELL, JENNIFER RYAN, JAIME                       FOR ORDER REQUIRING
      SENA, JAMES SHOBE, KARYN                              RESPONDENTS TO COMPLY WITH
13                                                          CIVIL LOCAL RULE 3-15
      THOMPSON, and CRISTIAN ZAPATA,
14
                            Petitioners,
15
      v.
16
      TWITTER, INC., X HOLDINGS I, INC., X
17    HOLDINGS CORP, X CORP, and ELON
      MUSK,
18
                             Respondents
19

20

21            I, Ethan Jacobs, declare as follows:
22            1.     I am a partner at Ethan Jacobs Law Corporation, counsel of record for
23   Petitioners Sarah Anoke, Catherine Bonn, Isabelle Cannell, Melanie Eusebio, Samantha
24   Festejo, Carlos Moises Ortiz Gomez, Dawn Hoise, Wayne Krug, Laurent Luce, Patrick
25   O’Connell, Jennifer Ryan, Jaime Sena, James Shobe, Karyn Thompson, and Cristian Zapata
26   (collectively, “Petitioners”) in this action. I am licensed to practice in the State of California. I
27   submit this declaration in support of Petitioners’ Civil Local Rule 7-11 Administrative Relief
28   Motion for Order Requiring Respondents to Comply with Civil Local Rule 3-15. I have
                                                        1

           DECLARATION OF ETHAN JACOBS IN SUPPORT OF MOTION FOR ADMINISTRATIVE RELIEF
                                     Case No. 3:23-cv-02217-SI
      Case 3:23-cv-02217-SI Document 19-1 Filed 05/11/23 Page 2 of 8


 1   personal knowledge of the facts set forth in this declaration and, if necessary, I could and would
 2   competently testify to those facts.
 3           2.      Exhibit A, attached, is a true and correct copy of Respondents’ Rule 7.1
 4   Corporate Disclosure Statement and Certification Pursuant to Local Rule 3-15, filed on May 8,
 5   2023 (the “Disclosure”).
 6           3.      Civil Local Rule 3-15 requires parties to disclose the identity of any individual
 7   or entity with “a financial interest ... in a party to the proceeding.” Yet the Disclosure fails to
 8   disclose the identity of any individuals or entities that own X Holdings Corp., a privately held
 9   corporation.
10           4.      Exhibit B, attached, is a true and correct copy of a May 9, 2023 email from me
11   to Respondents’ counsel. As of the time of filing, Respondents’ counsel has corresponded with
12   me about other issues but has not responded to that email.
13           5.      As indicated in Exhibit B, a Civil Local Rule 7-12 stipulation could not be
14   obtained for the requested administrative relief because Respondents refused to respond to my
15   inquiry, and so have not agreed to the requested relief.
16

17           I declare under penalty of perjury under the laws of the State of California and the
18   United States that the foregoing is true and correct.
19

20           Executed this 11th day of May 2023 in San Francisco, California.
21
                                                             /s/ Ethan Jacobs
22
                                                                 Ethan Jacobs
23

24

25

26

27

28
                                                       2

        DECLARATION OF ETHAN JACOBS IN SUPPORT OF MOTION FOR ADMINISTRATIVE RELIEF
                                  Case No. 3:23-cv-02217-SI
Case 3:23-cv-02217-SI Document 19-1 Filed 05/11/23 Page 3 of 8




               Exhibit A
                           Case
                             Case
                                3:23-cv-02217-SI
                                   3:23-cv-02217 Document 19-1
                                                          4 Filed
                                                                Filed
                                                                   05/08/23
                                                                      05/11/23
                                                                             Page
                                                                               Page
                                                                                  1 of42of 8



                     1   MORGAN, LEWIS & BOCKIUS LLP
                         Eric Meckley, Bar No. 168181
                     2   eric.meckley@morganlewis.com
                         Brian D. Berry, Bar No. 229893
                     3   brian.berry@morganlewis.com
                         Kassia Stephenson, Bar No. 336175
                     4   kassia.stephenson@morganlewis.com
                         One Market, Spear Street Tower
                     5   San Francisco, CA 94105-1596
                         Tel: +1.415.442.1000
                     6   Fax: +1.415.442.1001
                     7   MORGAN, LEWIS & BOCKIUS LLP
                         Ashlee N. Cherry, Bar No. 312731
                     8   ashlee.cherry@morganlewis.com
                         1400 Page Mill Road
                     9   Palo Alto, CA 94304
                         Tel: +1.650.843.4000
                    10   Fax: +1.650.843.4001
                    11   Attorneys for Respondents
                         TWITTER, INC.; X HOLDINGS I, INC.; X
                    12   HOLDINGS CORP.; X CORP.; ELON MUSK
                    13
                                                 UNITED STATES DISTRICT COURT
                    14
                                               NORTHERN DISTRICT OF CALIFORNIA
                    15

                    16
                         SARAH ANOKE, CATHERINE BONN,               Case No. 3:23-cv-02217
                    17   ISABELLE CANNELL, MELANIE EUSEBIO,
                         SAMANTHA FESTEJO, CARLOS MOISES            RESPONDENTS’ RULE 7.1
                    18   ORTIZ GOMEZ, DAWN HOISE, WAYNE             CORPORATE DISCLOSURE
                         KRUG, LAURENT LUCE, PATRICK                STATEMENT AND CERTIFICATION
                    19   O’CONNELL, JENNIFER RYAN, JAIME            PURSUANT TO LOCAL RULE 3-15
                         SENA, JAMES SHOBE, KARYN
                    20   THOMPSON, AND CRISTIAN ZAPATA,

                    21
                                           Petitioners,
                    22
                                     v.
                    23
                         TWITTER, INC., X HOLDINGS I, INC., X
                    24   HOLDINGS, CORP, X CORP, AND ELON
                         MUSK,
                    25                     Respondents.

                    26

                    27

                    28
MORGAN, LEWIS &                                                                  RESPONDENTS’ RULE 7.1 CORP
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                                          DISCLOSURE STMT
  SAN FRANCISCO                                                                         Case No. 3:23-cv-02217
                            Case
                              Case
                                 3:23-cv-02217-SI
                                    3:23-cv-02217 Document 19-1
                                                           4 Filed
                                                                 Filed
                                                                    05/08/23
                                                                       05/11/23
                                                                              Page
                                                                                Page
                                                                                   2 of52of 8



                     1           Pursuant to Northern District of California Civil Local Rule 3-15 and Rule 7.1 of the

                     2   Federal Rules of Civil Procedure, Respondent X Corp. as successor in interest to named

                     3   Respondent Twitter, Inc., by and through its counsel, certifies that Twitter, Inc. has been merged

                     4   into X Corp. and no longer exists. Respondent X Holdings Corp., as successor in interest to

                     5   named Respondent X Holdings I, Inc., by and through its counsel, certifies that X Holdings I, Inc.

                     6   has been merged into X Holdings Corp. and no longer exists. X Corp. is wholly owned by X

                     7   Holdings Corp. No publicly held corporation owns 10% or more of X Corp.’s or X Holdings

                     8   Corp.’s stock.

                     9           Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, there is no
                    10   conflict or interest (other than the named parties) to report.

                    11   Dated: May 8, 2023                       MORGAN, LEWIS & BOCKIUS LLP
                    12
                                                                  By    /s/ Eric Meckley
                    13                                                 Eric Meckley
                                                                       Brian D. Berry
                    14                                                 Ashlee N. Cherry
                                                                       Kassia Stephenson
                    15                                                 Attorneys for Respondents
                                                                       TWITTER, INC.; X HOLDINGS I, INC.; X
                    16                                                 HOLDINGS CORP.; X CORP.; ELON MUSK

                    17

                    18   DB2/ 45098839.1

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
                                                                            2                   RESPONDENTS’ RULE 7.1 CORP
 BOCKIUS LLP                                                                                             DISCLOSURE STMT
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                                       Case No. 3:23-cv-02217
Case 3:23-cv-02217-SI Document 19-1 Filed 05/11/23 Page 6 of 8




               Exhibit B
                   Case 3:23-cv-02217-SI Document 19-1 Filed 05/11/23 Page 7 of 8


Ethan Jacobs

From:                 Ethan Jacobs
Sent:                 Tuesday, May 9, 2023 12:07 PM
To:                   Meckley, Eric
Cc:                   brian.berry@morganlewis.com; ashlee.cherry@morganlewis.com;
                      kassia.stephenson@morganlewis.com; Akiva Cohen; Dylan Schmeyer; Kathryn Farley; Kathryn
                      Tewson; Lane Haygood; Mike Dunford
Subject:              Anoke, et al. v. Twitter, Inc. et al., N.D. Cal. Case No.: 3:23-cv-02217


Eric,

The Rule 7.1 Corporate Disclosure Statement and Certification Pursuant to Local Rule 3‐15 you filed yesterday is
incomplete. The disclosure statement explains that Twitter, Inc. and X Holdings I, Inc. no longer exist, and that X Corp. is
wholly owned by X Holdings Corp. But it does not disclose who owns X Holdings Corp., stating instead that “there is no …
interest (other than the named parties) to report.”

Local Rule 3‐15(b)(2) requires disclosure of anyone “other than the parties themselves, known by the party to have
either: (i) a financial interest of any kind in the subject matter in controversy or in a party to the proceeding; or (ii) any
other kind of interest that could be substantially affected by the outcome of the proceeding.” Rule 3‐15(b)(3) explains
that “[f]or purposes of this Rule, the terms ‘proceeding’ and ‘financial interest’ shall have the meaning assigned by 28
U.S.C. § 455 (d)(1), (3) and (4), respectively.” And 28 U.S.C. § 455 (d)(4) provides in turn:

        (4) “financial interest” means ownership of a legal or equitable interest, however small, or a relationship as
        director, adviser, or other active participant in the affairs of a party, except that:
                 (i) Ownership in a mutual or common investment fund that holds securities is not a “financial interest”
                 in such securities unless the judge participates in the management of the fund;
                 (ii) An office in an educational, religious, charitable, fraternal, or civic organization is not a “financial
                 interest” in securities held by the organization;
                 (iii) The proprietary interest of a policyholder in a mutual insurance company, of a depositor in a mutual
                 savings association, or a similar proprietary interest, is a “financial interest” in the organization only if
                 the outcome of the proceeding could substantially affect the value of the interest;
                 (iv) Ownership of government securities is a “financial interest” in the issuer only if the outcome of the
                 proceeding could substantially affect the value of the securities.

Someone owns X Holdings Corp., but Respondents’ disclosure and certification does not say who. Respondents must
identify them to comply with Local Rule 3‐15 and permit the assigned judge to determine whether she should disqualify
herself.

Given your recent practice of ignoring my firm’s communication, I ask that you respond to this email by 10:00 am
tomorrow to confirm that Respondents will file a corrected disclosure before the end of the week. Otherwise,
Petitioners will take your non‐response as a refusal to do so and as a refusal to stipulate to an order compelling
Respondents to submit a compliant disclosure.

Thank you,
Ethan

Ethan Jacobs
415.275.0845
100 Pine St., Suite 1250
                                                               1
                Case 3:23-cv-02217-SI Document 19-1 Filed 05/11/23 Page 8 of 8

San Francisco, CA 94111
ejacobslaw.com




                                              2
